            CaseApplication
   AO 106A (08/18) 2:24-mj-04774-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    08/08/24
                                                                                    Means           Page 1 of 14 Page ID #:1


                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Central District
                                                     __________ Districtofof
                                                                           California
                                                                             __________

                     In the Matter of the Search of                       )
        A United States Postal Service (“USPS”) Priority Mail parcel      )
         bearing tracking number 9505 5147 1701 4212 1786 22, as          )       Case No.2:24-mj-04774
                     further described in Attachment A                    )

      APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):
        See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
        See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                      evidence of a crime;
                      contraband, fruits of crime, or other items illegally possessed;
                      property designed for use, intended for use, or used in committing a crime;
                    a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
               Code Section                                               Offense Description
          21 U.S.C. §§ 841(a)(1)                            Distribution and possession with intent to distribute a controlled substance
          21 U.S.C. §§ 846                                  Conspiracy to distribute and possess with intent to distribute a controlled
                                                            substance
          21 U.S.C. §§843(b)                                Unlawful use of a communication facility, including the mails, to facilitate
                                                            the distribution of a controlled substance
             The application is based on these facts:
                   See attached Affidavit
                     Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                      ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                    /s/ Jolisia Bennet
                                                                                                     Applicant’s signature
                                                                                                  Jolisia Bennet, Special Agent, USPIS
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                     Judge’s signature

City and state: Los Angeles, CA                                               Hon. Jacqueline Chooljian, United States Magistrate Judge
                                                                                                     Printed name and title

AUSA: Thomas Magana. x1344
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                              ATTACHMENT A

PROPERTY TO BE SEARCHED

     A United States Postal Service (“USPS”) Priority Mail

parcel bearing tracking number 9505 5147 1701 4212 1786 22 (the

“SUBJECT PARCEL”), currently in the custody of the United States

Postal Inspection Service (“USPIS”) in Los Angeles, California.

The SUBJECT PARCEL weighs approximately 31 pounds, 1.6 ounces,

bears a return address of “khiet Nguyen 8961 Tracy Ave, Garden

Grove, CA 92841,” and bears a recipient address of “David Yosh

1011 15th Ave, Honolulu, HI 96816.”




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                              ATTACHMENT B

ITEMS TO BE SEIZED

     The following items are to be seized from the parcel

described in Attachment A, which constitute evidence, fruits,

and instrumentalities of violations of 21 U.S.C. §§ 841(a)(1)

(distribution and possession with intent to distribute a

controlled substance), 846(conspiracy to distribute and possess

with intent to distribute a controlled substance), and 843(b)

(unlawful use of a communication facility, including the mails,

to facilitate the distribution of a controlled substance):

          a.    Any controlled substances;

          b.    Currency, money orders, bank checks, or similar

monetary instruments in quantities over $1,000; and

          c.    Packaging material.




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                               AFFIDAVIT

I, Jolisia Bennett, being duly sworn, declare and state as

follows:

                       I.   PURPOSE OF AFFIDAVIT
     1.    This affidavit is made in support of a search warrant

for the following:

           a.   A United States Postal Service (“USPS”) Priority

Mail parcel bearing tracking number 9505 5147 1701 4212 1786 22

(the “SUBJECT PARCEL”). The SUBJECT PARCEL was shipped through

USPS and is currently in the possession of the United States

Postal Inspection Service (“USPIS”) Office, located at 1055

North Vignes Street, Los Angeles, California, within the Central

District of California, as described more fully in Attachment A.

     2.    The requested search warrant seeks authorization to

seize evidence, fruits, and instrumentalities of violations of

21 U.S.C. §§ 841(a)(1) (distribution and possession with intent

to distribute a controlled substance), 846 (conspiracy to

distribute or possess with intent to distribute a controlled

substance), and 843(b) (unlawful use of a communication

facility, including the mails, to facilitate the distribution of

a controlled substance) (the “SUBJECT OFFENSES”), as described

more fully in Attachment B.

     3.    Attachments A and B are incorporated by reference.

     4.    The facts set forth in this affidavit are based on my

personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses. This affidavit is intended to show merely that there
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is sufficient probable cause for the requested warrant and does

not purport to set forth all my knowledge of or investigation

into this matter. Unless specifically noted otherwise, all

conversations and statements described in this affidavit are

provided in substance and in part only.

                    II.   TRAINING AND EXPERIENCE

     5.   I am a Postal Inspector with USPIS and have been so

employed since August 2021. I have completed a sixteen-week

basic training course in Potomac, Maryland, which included

training in the investigation of drug trafficking via the United

States Mail. I am currently assigned to the USPIS Los Angeles

Division, Contraband Interdiction and Investigations (“CI2”)

team. The CI2 team is responsible for investigating narcotics

trafficked through the United States Mail.

     6.   The USPIS is the primary investigative arm of the USPS

and is charged under Title 18, United States Code, 3061 with the

enforcement of laws governing the use and movement of the United

States Mail, including the misuse and fraudulent schemes

involving the mail, crimes relating to mail fraud, narcotics

trafficking and identity theft involving the United States Mail.

     7.   Through training, experience, and discussion with

fellow United States Postal Inspectors, I am familiar with

various methods of smuggling and trafficking narcotics and other

controlled substances and the proceeds from sale of such

substances.




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                  III.    SUMMARY OF PROBABLE CAUSE

     8.     On or about August 1, 2024, Inspectors flagged the

SUBJECT PARCEL at the Garden Grove Post Office because it met

certain characteristics common to packages containing

contraband. Specifically, the SUBJECT PARCEL had a handwritten

recipient label, and the names of the sender and/or recipient

did not appear associated with the listed addresses upon my

review of law enforcement databases. USPIS therefore diverted

the SUBJECT PARCEL from its destination of Honolulu, Hawaii to

the USPIS Alameda Domicile, located at 1055 N. Vignes Street in

Los Angeles, California.

     9.     On August 6, 2024, a South Gate Police Department

(“SGPD”) trained drug-detection dog, “Otis,” examined the

exterior of the SUBJECT PARCEL and alerted to the presence of

either controlled substances or an item that had recently been

contaminated with the odor of a controlled substance.

Accordingly, based on my training and experience, I believe that

the SUBJECT PARCEL contains controlled substances or the

proceeds from the trafficking of controlled substances.

                  IV.    STATEMENT OF PROBABLE CAUSE

     10.    Based on my training and experience, my conversations

with other Postal Inspectors who specialize in drug

investigations, my review of law enforcement reports, and my own

participation in this investigation, I know the following:

           A. Background on Use of Mails for Drug Trafficking

     11.    Los Angeles is a significant source area for

controlled substances. Controlled substances are frequently



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transported from the Los Angeles area via the United States

Mail, and the proceeds from the sale of controlled substances

are frequently returned to Los Angeles area via the United

States Mail. These proceeds are generally in the form of money

orders, bank checks, or similar monetary instruments in amounts

over $1,000. Based on my training and experience, I know that

proceeds from the sale of controlled substances often contain

the odor of controlled substances because they have been

contaminated with or associated with the odor of one or more

controlled substances.

     12.   Drug traffickers often use one of two USPS services:

Priority Mail Express, which is the USPS overnight/next day

delivery mail product, or Priority Mail Service, which is the

USPS two-to-three-day delivery mail product. Drug traffickers

use the Priority Mail Express delivery service because of its

speed, reliability, and the ability to track the parcel’s

progress to the intended delivery point. Drug traffickers use

the Priority Mail delivery service because it allows drug

traffickers more time for travel between states if they decide

to follow a shipment to its destination for distribution. Also,

by adding delivery confirmation to a Priority Mail parcel, drug

traffickers have the ability to track the parcel’s progress to

the intended delivery point, as if the parcel had been mailed

using the Priority Mail Express Service.

     13.   Based on my training and experience, and the

collective experiences that my fellow Postal Inspectors who

specialize in drug investigations have related to me, I know



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that the following indicia suggest that a parcel may contain

drugs or drug trafficking proceeds:

            a.   The parcel is contained in a box, flat cardboard

mailer, or Tyvek envelope;

            b.   The parcel bears a handwritten label, whether

USPS Express Mail or Priority Mail;

            c.   The handwritten label on the parcel does not

contain a business account number;

            d.   All the seams of the parcel are taped or glued

shut;

            e.   The parcel emits a particular odor of a cleaning

agent or adhesive or spray foam that can be detected by a human;

and

            f.   Multiple parcels are mailed by the same

individual, on the same day, from different locations.

      14.   Parcels exhibiting some of these characteristics are

often the subject of further investigation, which may include

verification of the addressee and return addresses, and

examination by a trained drug detection dog.

      15.   I know from my experience and training that drug

traffickers often use fictitious or incomplete names and/or

addresses in an effort to conceal their identities from law

enforcement officers investigating these types of cases. Indeed,

it is my experience that to the extent real addresses are ever

used, it is only to lend an appearance of legitimacy to the

parcel, and is almost always paired with a false name.




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            B. Initial Investigation of the SUBJECT PARCEL

     16.   On or about August 1, 2024, USPIS conducted a parcel

profiling operation at the USPS facilities in the greater Los

Angeles area. The Parcel profiling operation was designed to

locate suspicious parcels being processed at USPS facilities.

During the parcel profiling operation, USPIS identified the

SUBJECT PARCEL in the mail stream after it was shipped from the

Garden Grove Post Office with a destination of Honolulu, Hawaii.

The SUBJECT PARCEL was identified as meeting some of the initial

suspicious characteristics described above. Specifically, I

determined the following: 1
           a.   The SUBJECT PARCEL is a USPS Priority Mail parcel

bearing tracking number 9505 5147 1701 4212 1786 22. The SUBJECT

PARCEL has a handwritten label. According to law enforcement

database records, the return address listed on the SUBJECT

PARCEL is “8961 Tracy Ave, Garden Grove, CA 92841” and appears

to be a legitimate address, but is not associated with the

listed sender, “khiet Nguyen.” Based on law enforcement database

records, the recipient address listed on the SUBJECT PARCEL is

“1011 15th Ave, Honolulu, HI 96816” and appears to be a

legitimate address, but is not associated with the listed

recipient, “David Yosh.”

     17.   At the time the SUBJECT PARCEL was flagged as

suspicious, it was already in transit to Honolulu. Postal

Inspector Lee Versoza therefore alerted Postal Inspector Melanie


     1 Spelling and capitalization are reproduced herein as on
the SUBJECT PARCEL.


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Ramirez in Honolulu to re-direct the package back to Los Angeles

for further inspection. Inspector Ramirez intercepted the

package at the USPS Honolulu Processing Distribution Center and

re-directed it to the USPIS Alameda Domicile located on 1055 N.

Vignes Street, Los Angeles, CA 90012.

            C. Drug-Detection Dog Alerts to the SUBJECT PARCEL

      18.    On August 6, 2024, SGPD Detective Tony Mendez and his

trained narcotics-detection dog, “Otis,” examined the exterior

of the SUBJECT PARCEL at the USPIS Alameda Domicile. I learned

from Detective Mendez that Otis gave a positive alert to the

SUBJECT PARCEL, indicating the presence of controlled substances

or other items, such as the proceeds of controlled substances,

which emitted the odor of controlled substances, in the SUBJECT

PARCEL.

      19.    Attached hereto as Exhibit 1 and incorporated by

reference is a true and correct copy of an affidavit from

Detective Mendez. In this affidavit, Detective Mendez describes

his training and experience with drug-detection dogs. He also

affirms that Otis is a certified drug-detection dog.

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                             V.    CONCLUSION

      20.   For the reasons above, there is probable cause to

believe that the items listed in Attachment B, which constitute

the evidence, fruits, and instrumentalities of the SUBJECT

OFFENSES, will be found in the SUBJECT PARCELS, as described in

Attachment A.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____ day of
August 2024.



HONORABLE JACQUELINE CHOOLJIAN
UNITED STATES MAGISTRATE JUDGE




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                    Exhibit 1




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